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10                        UNITED STATES DISTRICT COURT
11                       CENTRAL DISTRICT OF CALIFORNIA
12

13    MARTIS CHILDS,                               Case No. 2:25-cv-415-JFW(SKx)
14                       Plaintiff,
15                                                 STIPULATED PROTECTIVE
                   v.                              ORDER
16    COUNTY OF LOS ANGELES,
      RICHARD BIDDLE, KENT
17    WEGENER, BARRY HALL, and
      DOES 1–10,
18

19                       Defendant.

20

21     1.    A. PURPOSES AND LIMITATIONS
22           Discovery in this action is likely to involve production of confidential,
23     proprietary, or private information for which special protection from public
24     disclosure and from use for any purpose other than prosecuting this litigation may
25     be warranted. Accordingly, the parties hereby stipulate to and petition the Court to
26     enter the following Stipulated Protective Order. The parties acknowledge that this
27     Order does not confer blanket protections on all disclosures or responses to
28     discovery and that the protection it affords from public disclosure and use extends
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 1     only to the limited information or items that are entitled to confidential treatment
 2     under the applicable legal principles. The parties further acknowledge, as set forth
 3     in Section 12.3 (Filing Protected Material), below, that this Stipulated Protective
 4     Order does not entitle them to file confidential information under seal; Civil Local
 5     Rule 79-5 sets forth the procedures that must be followed and the standards that will
 6     be applied when a party seeks permission from the court to file material under seal.
 7           B. GOOD CAUSE STATEMENT
 8           This action is likely to involve confidential documents relating to criminal
 9     investigations and prosecutions, peace officer personnel file documents, personal
10     identifying information of parties and third-party witnesses (i.e., addresses,
11     telephone numbers, etc.), and protected health information, for which special
12     protection from public disclosure and from use for any purpose other than
13     prosecution of this action is warranted. Such confidential and proprietary materials
14     and information consist of, among other things, documents produced in connection
15     with prior criminal investigations and prosecutions; criminal histories; personnel file
16     information; personal identifying information of any party or third-party witness;
17     and protected health information, otherwise generally unavailable to the public, or
18     which may be privileged or otherwise protected from disclosure under state or
19     federal statutes, court rules, case decisions, or common law.
20           Accordingly, to expedite the flow of information, to facilitate the prompt
21     resolution of disputes over confidentiality of discovery materials, to adequately
22     protect information the parties are entitled to keep confidential, to ensure that the
23     parties are permitted reasonable necessary uses of such material in preparation for
24     and in the conduct of trial, to address their handling at the end of the litigation, and
25     serve the ends of justice, a protective order for such information is justified in this
26     matter. It is the intent of the parties that information will not be designated as
27     confidential for tactical reasons and that nothing be so designated without a good
28     faith belief that it has been maintained in a confidential, non-public manner, and

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 1     there is good cause why it should not be part of the public record of this case.
 2     2.     DEFINITIONS
 3            2.1    Action:   This pending federal action in Childs v. County of Los
 4     Angeles, et al., Case No. 2:25-cv-00415-JFW(SKx).
 5            2.2    Challenging Party:      a Party or Non-Party that challenges the
 6     designation of information or items under this Order.
 7            2.3    “CONFIDENTIAL” Information or Items: information (regardless of
 8     how it is generated, stored, or maintained) or tangible things that qualify for
 9     protection under Federal Rule of Civil Procedure 26(c), and as specified above in
10     the Good Cause Statement.
11            2.4    Counsel: Outside Counsel of Record and House Counsel (as well as
12     their support staff).
13            2.5    Designating Party: a Party or Non-Party that designates information
14     or items that it produces in disclosures or in responses to discovery as
15     “CONFIDENTIAL.”
16            2.6    Disclosure or Discovery Material: all items or information, regardless
17     of the medium or manner in which it is generated, stored, or maintained (including,
18     among other things, testimony, transcripts, and tangible things), that are produced
19     or generated in disclosures or responses to discovery in this matter.
20            2.7    Expert: a person with specialized knowledge or experience in a matter
21     pertinent to the litigation who has been retained by a Party or its counsel to serve as
22     an expert witness or as a consultant in this Action.
23            2.8    House Counsel: attorneys who are employees of a party to this Action.
24     House Counsel does not include Outside Counsel of Record or any other outside
25     counsel.
26            2.9    Non-Party: any natural person, partnership, corporation, association,
27     or other legal entity not named as a Party to this action.
28            2.10 Outside Counsel of Record: attorneys who are not employees of a

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 1     party to this Action but are retained to represent or advise a party to this Action and
 2     have appeared in this Action on behalf of that party or are affiliated with a law firm
 3     which has appeared on behalf of that party, including support staff.
 4           2.11 Party: any party to this Action, including all of its officers, directors,
 5     employees, consultants, retained experts, and Outside Counsel of Record (and their
 6     support staffs).
 7           2.12 Producing Party: a Party or Non-Party that produces Disclosure or
 8     Discovery Material in this Action.
 9           2.13 Professional Vendors:        persons or entities that provide litigation
10     support services (e.g., photocopying, videotaping, translating, preparing exhibits or
11     demonstrations, and organizing, storing, or retrieving data in any form or medium)
12     and their employees and subcontractors.
13           2.14 Protected Material: any Disclosure or Discovery Material that is
14     designated as “CONFIDENTIAL.”
15           2.15 Receiving Party:        a Party that receives Disclosure or Discovery
16     Material from a Producing Party.
17     3.    SCOPE
18           The protections conferred by this Stipulation and Order cover not only
19     Protected Material (as defined above), but also (1) any information copied or
20     extracted from Protected Material; (2) all copies, excerpts, summaries, or
21     compilations of Protected Material; and (3) any testimony, conversations, or
22     presentations by Parties or their Counsel that might reveal Protected Material.
23           Any use of Protected Material at trial shall be governed by the orders of the
24     trial judge. This Order does not govern the use of Protected Material at trial.
25     4.    DURATION
26           Even after final disposition of this litigation, as defined in Section 13 (FINAL
27     DISPOSITION), the confidentiality obligations imposed by this Order shall remain
28     in effect until a Designating Party agrees otherwise in writing or a court order

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 1     otherwise directs.
 2     5.    DESIGNATING PROTECTED MATERIAL
 3           5.1     Exercise of Restraint and Care in Designating Material for Protection.
 4     Each Party or Non-Party that designates information or items for protection under
 5     this Order must take care to limit any such designation to specific material that
 6     qualifies under the appropriate standards. The Designating Party must designate for
 7     protection only those parts of material, documents, items, or oral or written
 8     communications that qualify so that other portions of the material, documents,
 9     items, or communications for which protection is not warranted are not swept
10     unjustifiably within the ambit of this Order.
11           Mass, indiscriminate, or routinized designations are prohibited. Designations
12     that are shown to be clearly unjustified or that have been made for an improper
13     purpose (e.g., to unnecessarily encumber the case development process or to impose
14     unnecessary expenses and burdens on other parties) may expose the Designating
15     Party to sanctions.
16          If it comes to a Designating Party’s attention that information or items that it
17     designated for protection do not qualify for protection, that Designating Party must
18     promptly notify all other Parties that it is withdrawing the inapplicable designation.
19           5.2    Manner and Timing of Designations. Except as otherwise provided in
20     this Order (see, e.g., second paragraph of Section 5.2(a) below), or as otherwise
21     stipulated or ordered, Disclosure or Discovery Material that qualifies for protection
22     under this Order must be clearly so designated before the material is disclosed or
23     produced.
24           Designation in conformity with this Order requires:
25                 (a) for information in documentary form (e.g., paper or electronic
26     documents, but excluding transcripts of depositions or other pretrial or trial
27     proceedings), that the Producing Party affix at a minimum, the legend
28     “CONFIDENTIAL” (hereinafter “CONFIDENTIAL legend”), to each page that

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 1     contains protected material. If only a portion or portions of the material on a page
 2     qualifies for protection, the Producing Party also must clearly identify the protected
 3     portion(s) (e.g., by making appropriate markings in the margins).
 4                 A Party or Non-Party that makes original documents available for
 5     inspection need not designate them for protection until after the inspecting Party has
 6     indicated which documents it would like copied and produced.              During the
 7     inspection and before the designation, all of the material made available for
 8     inspection shall be deemed “CONFIDENTIAL.” After the inspecting Party has
 9     identified the documents it wants copied and produced, the Producing Party must
10     determine which documents, or portions thereof, qualify for protection under this
11     Order. Then, before producing the specified documents, the Producing Party must
12     affix the “CONFIDENTIAL legend” to each page that contains Protected Material.
13     If only a portion or portions of the material on a page qualifies for protection, the
14     Producing Party also must clearly identify the protected portion(s) (e.g., by making
15     appropriate markings in the margins).
16                 (b) for testimony given in depositions that the Designating Party identify
17     the Disclosure or Discovery Material on the record, before the close of the
18     deposition all protected testimony.
19                 (c) for information produced in some form other than documentary and
20     for any other tangible items, that the Producing Party affix in a prominent place on
21     the exterior of the container or containers in which the information is stored the
22     legend “CONFIDENTIAL.” If only a portion or portions of the information
23     warrants protection, the Producing Party, to the extent practicable, shall identify the
24     protected portion(s).
25           5.3    Inadvertent Failures to Designate. If timely corrected, an inadvertent
26     failure to designate qualified information or items does not, standing alone, waive
27     the Designating Party’s right to secure protection under this Order for such material.
28     Upon timely correction of a designation, the Receiving Party must make reasonable

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 1     efforts to assure that the material is treated in accordance with the provisions of this
 2     Order.
 3     6.    CHALLENGING CONFIDENTIALITY DESIGNATIONS
 4           6.1    Timing of Challenges. Any Party or Non-Party may challenge a
 5     designation of confidentiality at any time that is consistent with the Court’s
 6     Scheduling Order.
 7           6.2    Meet and Confer. The Challenging Party Shall initiate the dispute
 8     resolution process under Civil Local Rule 37-1 et seq.
 9           6.3    The burden of persuasion in any such challenge proceeding shall be
10     on the Designating Party. Frivolous challenges, and those made for an improper
11     purpose (e.g., to harass or impose unnecessary expenses and burdens on other
12     parties), may expose the Challenging Party to sanctions. Unless the Designating
13     Party has waived or withdrawn the confidentiality designation, all parties shall
14     continue to afford the material in question the level of protection to which it
15     is entitled under the Producing Party’s designation until the Court rules on the
16     challenge.
17     7.    ACCESS TO AND USE OF PROTECTED MATERIAL
18           7.1    Basic Principles. A Receiving Party may use Protected Material that
19     is disclosed or produced by another Party or by a Non-Party in connection with
20     this Action only for prosecuting, defending, or attempting to settle this Action.
21     Such Protected Material may be disclosed only to the categories of persons and
22     under the conditions described in this Order.          When the Action has been
23     terminated, a Receiving Party must comply with the provisions of Section 13 below
24     (FINAL DISPOSITION).
25           Protected Material must be stored and maintained by a Receiving Party at
26     a location and in a secure manner that ensures that access is limited to the
27     persons authorized under this Order.
28 ///

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 1           7.2     Disclosure of “CONFIDENTIAL” Information or Items.                Unless
 2     otherwise ordered by the Court or permitted in writing by the Designating Party, a
 3     Receiving    Party    may     disclose    any      information   or   item   designated
 4     “CONFIDENTIAL” only to:
 5                 (a) the Receiving Party’s Outside Counsel of Record in this Action, as
 6     well as employees of said Outside Counsel of Record to whom it is reasonably
 7     necessary to disclose the information for this Action;
 8                 (b) the officers, directors, and employees (including House Counsel) of
 9     the Receiving Party to whom disclosure is reasonably necessary for this Action;
10                 (c) Experts (as defined in this Order) of the Receiving Party to whom
11     disclosure is reasonably necessary for this Action and who have signed the
12     “Acknowledgment and Agreement to Be Bound” (Exhibit A);
13                 (d) the Court and its personnel;
14                 (e) court reporters and their staff;
15                 (f) professional jury or trial consultants, mock jurors, and Professional
16     Vendors to whom disclosure is reasonably necessary for this Action and who have
17     signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A);
18                 (g) the author or recipient of a document containing the information or a
19     custodian or other person who otherwise possessed or knew the information;
20                 (h) during their depositions, witnesses, and attorneys for witnesses, in
21     the Action to whom disclosure is reasonably necessary provided: (1) the deposing
22     party requests that the witness sign the form attached as Exhibit A hereto; and (2)
23     they will not be permitted to keep any confidential information unless they sign the
24     “Acknowledgment and Agreement to Be Bound” (Exhibit A), unless otherwise
25     agreed by the Designating Party or ordered by the Court. Pages of transcribed
26     deposition testimony or exhibits to depositions that reveal Protected Material may
27     be separately bound by the court reporter and may not be disclosed to anyone except
28     as permitted under this Stipulated Protective Order; and

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 1                (i) any mediator or settlement officer, and their supporting personnel,
 2     mutually agreed upon by any of the parties engaged in settlement discussions.
 3     8.    PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED
 4     IN OTHER LITIGATION
 5           If a Party is served with a subpoena or a court order issued in other litigation
 6     that compels disclosure of any information or items designated in this Action as
 7     “CONFIDENTIAL,” that Party must:
 8                (a) promptly notify in writing the Designating Party. Such notification
 9     shall include a copy of the subpoena or court order;
10                (b) promptly notify in writing the party who caused the subpoena or order
11     to issue in the other litigation that some or all of the material covered by the
12     subpoena or order is subject to this Protective Order. Such notification shall include
13     a copy of this Stipulated Protective Order; and
14                (c) cooperate with respect to all reasonable procedures sought to be
15     pursued by the Designating Party whose Protected Material may be affected.
16           If the Designating Party timely seeks a protective order, the Party served with
17     the subpoena or court order shall not produce any information designated in this
18     action as “CONFIDENTIAL” before a determination by the court from which the
19     subpoena or order issued, unless the Party has obtained the Designating Party’s
20     permission. The Designating Party shall bear the burden and expense of seeking
21     protection in that court of its confidential material, and nothing in these provisions
22     should be construed as authorizing or encouraging a Receiving Party in this Action
23     to disobey a lawful directive from another court.
24     9.    A NON-PARTY’S PROTECTED MATERIAL SOUGHT TO BE
25     PRODUCED IN THIS LITIGATION
26                (a) The terms of this Order are applicable to information produced by a
27     Non-Party in this Action and designated as “CONFIDENTIAL.” Such information
28     produced by Non-Parties in connection with this litigation is protected by the

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 1     remedies and relief provided by this Order. Nothing in these provisions should be
 2     construed as prohibiting a Non-Party from seeking additional protections.
 3                (b) In the event that a Party is required, by a valid discovery request, to
 4     produce a Non-Party’s confidential information in its possession, and the Party is
 5     subject to an agreement with the Non-Party not to produce the Non-Party’s
 6     confidential information, then the Party shall:
 7                  (1) promptly notify in writing the Requesting Party and the Non-Party
 8     that some or all of the information requested is subject to a confidentiality agreement
 9     with a Non-Party;
10                  (2) promptly provide the Non-Party with a copy of the Stipulated
11     Protective Order in this Action, the relevant discovery request(s), and a reasonably
12     specific description of the information requested; and
13                  (3) make the information requested available for inspection by the Non-
14     Party, if requested.
15                (c) If the Non-Party fails to seek a protective order from this Court within
16     14 days of receiving the notice and accompanying information, the Receiving Party
17     may produce the Non-Party’s confidential information responsive to the discovery
18     request. If the Non-Party timely seeks a protective order, the Receiving Party shall
19     not produce any information in its possession or control that is subject to the
20     confidentiality agreement with the Non-Party before a determination by the Court.
21     Absent a court order to the contrary, the Non-Party shall bear the burden and
22     expense of seeking protection in this Court of its Protected Material.
23     10.   UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL
24           If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed
25     Protected Material to any person or in any circumstance not authorized under this
26     Stipulated Protective Order, the Receiving Party must immediately (a) notify in
27     writing the Designating Party of the unauthorized disclosures, (b) use its best efforts
28     to retrieve all unauthorized copies of the Protected Material, (c) inform the person

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 1     or persons to whom unauthorized disclosures were made of all the terms of this
 2     Order, and (d) request such person or persons to execute the “Acknowledgment and
 3     Agreement to Be Bound” that is attached hereto as Exhibit A.
 4     11.   INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE
 5           PROTECTED MATERIAL
 6           When a Producing Party gives notice to Receiving Parties that certain
 7     inadvertently produced material is subject to a claim of privilege or other protection,
 8     the obligations of the Receiving Parties are those set forth in Federal Rule of Civil
 9     Procedure 26(b)(5)(B).      This provision is not intended to modify whatever
10     procedure may be established in an e-discovery order that provides for production
11     without prior privilege review. Pursuant to Federal Rule of Evidence 502(d) and
12     (e), insofar as the parties reach an agreement on the effect of disclosure of a
13     communication or information covered by the attorney-client privilege or work
14     product protection, the parties may incorporate their agreement in the stipulated
15     protective order submitted to the Court.
16     12.   MISCELLANEOUS
17           12.1 Right to Relief. Nothing in this Order abridges the right of any person
18     to seek its modification by the Court in the future.
19           12.2 Right to Assert Other Objections. By stipulating to the entry of this
20     Protective Order, no Party waives any right it otherwise would have to object to
21     disclosing or producing any information or item on any ground not addressed in this
22     Stipulated Protective Order. Similarly, no Party waives any right to object on any
23     ground to use in evidence of any of the material covered by this Protective Order.
24           12.3 Filing Protected Material. A Party that seeks to file under seal any
25     Protected Material must comply with Civil Local Rule 79-5. Protected Material
26     may only be filed under seal pursuant to a court order authorizing the sealing of the
27     specific Protected Material at issue. If a Party’s request to file Protected Material
28     under seal is denied by the court, then the Receiving Party may file the information

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 1     in the public record unless otherwise instructed by the court.
 2     13.   FINAL DISPOSITION
 3             Final disposition shall be deemed to be the later of (1) dismissal of all claims
 4     and defenses in this Action, with or without prejudice; and (2) final judgment herein
 5     after the completion and exhaustion of all appeals, rehearings, remands, trials, or
 6     reviews of this Action, including the time limits for filing any motions or
 7     applications for extension of time pursuant to applicable law. After the final
 8     disposition of this Action, within 60 days of a written request by the Designating
 9     Party, each Receiving Party must return all Protected Material to the Producing
10     Party or destroy such material. As used in this subdivision, “all Protected Material”
11     includes all copies, abstracts, compilations, summaries, and any other format
12     reproducing or capturing any of the Protected Material. Whether the Protected
13     Material is returned or destroyed, the Receiving Party must submit a written
14     certification to the Producing Party (and, if not the same person or entity, to the
15     Designating Party) by the 60 day deadline that (1) identifies (by category, where
16     appropriate) all the Protected Material that was returned or destroyed; and (2)
17     affirms that the Receiving Party has not retained any copies, abstracts, compilations,
18     summaries, or any other format reproducing or capturing any of the Protected
19     Material. Notwithstanding this provision, Counsel are entitled to retain an archival
20     copy of all pleadings, motion papers, trial, deposition, and hearing transcripts, legal
21     memoranda, correspondence, deposition and trial exhibits, expert reports, attorney
22     work product, and consultant and expert work product, even if such materials
23     contain Protected Material. Any such archival copies that contain or constitute
24     Protected Material remain subject to this Protective Order as set forth in Section 4
25     (DURATION).
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 1     14.   Any violation of this Order may be punished by any and all appropriate
 2           measures including, without limitation, contempt proceedings and/or
 3           monetary sanctions.
 4

 5     IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.
 6

 7     DATED: May 23, 2025
 8

 9     /s/ Cooper Mayne
       Dale K. Galipo
10     Cooper Mayne
11     Attorneys for Plaintiff
       MARTIS CHILDS
12

13
       DATED: May 23, 2025
14

15
        /s/ Karen Escalante
16     Adam D. Kamenstein
       Christine M. Adams
17     Karen E. Escalante
18     Attorneys for Defendants
       COUNTY OF LOS ANGELES,
19     RICHARD BIDDLE,
       KENT WEGENER, AND
20     BARRY HALL
21

22     FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.
23

24              May 27, 2025
       DATED:________________________
25

26     ____________________________________
27     Honorable Steve Kim
       United States Magistrate Judge
28

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 1                                         Attestation
 2          In accordance with Local Rule 5-4.3.4(a)(2)(i), undersigned counsel, filer of
 3     this documents on the Court’s CM/ECF system, hereby attests that all other
 4     signatories hereto concur in the filing’s content and have authorized the filing.
 5

 6                                                        /s/ Karen Escalante
 7                                                       Karen E. Escalante
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 1                                          EXHIBIT A
 2              ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
 3

 4         I, _____________________________ [print or type full name], of
 5     _________________ [print or type full address], declare under penalty of perjury
 6     that I have read in its entirety and understand the Stipulated Protective Order that
 7     was issued by the United States District Court for the Central District of California
 8     on _______________ in the case of Childs v. County of Los Angeles, et al., Case
 9     No. 2:25-cv-00415-JFW(SKx). I agree to comply with and to be bound by all the
10     terms of this Stipulated Protective Order, and I understand and acknowledge that
11     failure to so comply could expose me to sanctions and punishment in the nature of
12     contempt. I solemnly promise that I will not disclose in any manner any information
13     or item that is subject to this Stipulated Protective Order to any person or entity
14     except in strict compliance with the provisions of this Order.
15         I further agree to submit to the jurisdiction of the United States District Court
16     for the Central District of California for the purpose of enforcing the terms of this
17     Stipulated Protective Order, even if such enforcement proceedings occur after
18     termination of this action. I hereby appoint __________________________ [print
19     or type full name] of _______________________________________ [print or type
20     full address and telephone number] as my California agent for service of process in
21     connection with this action or any proceedings related to enforcement of this
22     Stipulated Protective Order.
23     Date: ______________________________________
24     City and State where sworn and signed: _________________________________
25

26     Printed name: _______________________________
27

28     Signature: __________________________________
